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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Hogan Construction Group, LLC,

       Plaintiff,

v.
                                             Case No.:
FCCI Insurance Company,

       Defendant.


                    NOTICE OF REMOVAL OF CIVIL ACTION

      Defendant FCCI Insurance Company (“FCCI”) hereby removes this civil

action filed in the State Court of Fulton County, State of Georgia, Civil Action No.

20EV003259 to this Court pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, as

follows:

                      Statement of the Grounds for Removal

      1.     On June 15, 2020, Hogan Construction Group, LLC (“Hogan”)

commenced a civil action in the State Court of Fulton County, State of Georgia,

styled Hogan Construction Group, LLC v. FCCI Insurance Company, Civil Action

No. 20EV003259 (the “Civil Action”).
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      2.      On June 19, 2020, FCCI acknowledged due and legal service of the

Summons and Complaint in the Civil Action.

      3.      True and correct copies of all process, pleadings, and orders filed in

the Civil Action are attached as Exhibit A, and consist of the following:

           a. Complaint;

           b. General Civil and Domestic Relations Case Filing Information Form;

           c. Summons; and

           d. Acknowledgment of Service.

      4.      Hogan is a limited liability company organized under the laws of the

State of Georgia with its principal place of business in Norcross, Gwinnett County,

Georgia. Upon information and belief, Hogan’s members, including members of

any limited liability company which is member, are all individuals, who reside in

and are citizens of Georgia. No member is a citizen of Florida.

      5.      FCCI is a corporation organized under the laws of the State of Florida

with its principal place of business in Sarasota, Florida.

      6.       In the Complaint, Hogan seeks recovery from FCCI in the principal

amount of $409,251.29, exclusive of interest and attorney’s fees. See Complaint, ¶

16.




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                 Diversity Jurisdiction Under 28 U.S.C. § 1332(a)

      7.      This court has jurisdiction over this matter under 28 U.S.C. § 1332(a)

because there is complete diversity of citizenship between plaintiff and defendant,

and more than $75,000.00, exclusive of interest and costs, is at stake.

      8.      Hogan is a citizen, for purpose of diversity jurisdiction, of Georgia.

      9.      FCCI is a citizen, for purpose of diversity jurisdiction, of Florida.

      10.     Hogan has demanded a judgment against defendant in the amount of

$409,251.29, exclusive of interest and attorney’s fees.

      11.     Therefore, there is complete diversity between Hogan and FCCI, and

over $75,000 exclusive of interest and costs in controversy.

           All Procedural Requirements for Removal have been Satisfied

      12.     Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,

pleadings, and orders served on defendant are filed with this notice.

      13.     This Notice of Removal of Civil Action is timely because it is being

filed not more than 30 days since receipt of the defendant of the Complaint, as

required by 28 U.S.C. § 1446(b).

      14.     In accordance with 28 U.S.C. § 1446(d), written notice of this notice

of removal will be provided to Hogan and filed in the Civil Action. A copy of the

notice is attached as Exhibit B.


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       15.    This court has original jurisdiction over this case under 28 U.S.C. §

1332(a) because this is a civil action where the matter in controversy exceeds

$75,000.00, exclusive of interest and costs, and is entirely between citizens of

different states.

       16.    The Civil Action may be removed to this court by FCCI pursuant to

the provisions of 28 U.S.C. § 1441.

       17.    Venue is proper under 28 U.S.C. §§ 97(a) and 1441(a) because the

United States District Court for the Northern District of Georgia, Atlanta Division,

is the federal district and division embracing the State Court for Fulton County,

Georgia.

       18.    FCCI reserves the right to submit further evidence supporting this

Notice of Removal of Civil Action should Hogan move to remand.

       19.    FCCI does not waive any objections it may have as to service,

jurisdiction, or venue.

       20.    FCCI intends no admission of fact, law, or liability by this Notice of

Removal of Civil Action, and expressly reserves all defenses, motions, and pleas.

       WHEREFORE, FCCI Insurance Company gives notice that the Civil Action

now pending in the State Court of Fulton County, Georgia is removed to this Court

as provided by law.


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                                 s/ John v. Burch
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                        CERTIFICATE OF SERVICE

      This is to certify that, on this day, I have served the foregoing Notice of

Removal of Civil Action upon counsel of record for the Plaintiff by depositing a

copy in the U.S. Mail in an envelope with adequate postage affixed, addressed as

follows:

                            Benjamin M. Rachelson
                               Ira L. Rachelson
                           Bodker Ramsey Andrews
                          Winograd & Wildstein, P.C.
                        3490 Piedmont Road, Suite 1400
                              Atlanta, GA 30305

                                     s/ David A. Harris
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